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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

UNITED STATES OF AMERICA
                                        Plaintiff,
v.                                                     Case No.: 1:21−cr−00698
                                                       Honorable Robert W. Gettleman
Ronald T. Molo
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 5, 2022:


        MINUTE entry before the Honorable Robert W. Gettleman as to Ronald T. Molo:
At government counsel's request, telephonic hearing set for 2/4/2022 is stricken and reset
to 1/14/2022 at 9:30 a.m. The call−in number is (888) 684−8852 and the access code is
1503395. Mailed notice (cn).




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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